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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                 CRIMINAL NO. 04-10029-GAO

                                 UNITED STATES OF AMERICA

                                                  v.

                                    DANIEL E. CARPENTER,
                                         Defendant.


                                             ORDER
                                           March 22, 2016

O’TOOLE, D.J.

       The defendant was convicted by a jury of nineteen counts of mail and wire fraud. After

those convictions were affirmed on direct appeal, the defendant since challenged them under 28

U.S.C. § 2255. That motion is still pending. He now seeks an order granting him bail during the

pendency of his post-conviction motion. As grounds therefore, he argues that bail is necessary for

his defense in an ongoing federal criminal trial in the District of Connecticut. The defendant is

currently housed at the Wyatt Detention Facility in Rhode Island. He complains that the long daily

ride from Wyatt to the courthouse in Hartford, Connecticut interferes with his ability to prepare

his defense.

       Federal courts have the power to grant bail during the pendency of post-conviction

motions, but only in “exceptional circumstances.” Glynn v. Donnelly, 470 F.2d 95, 98 (1st Cir.

1972). I have previously analyzed the defendant’s suitability for bail, albeit in the context of a

pending appeal. (See Opinion and Order (dkt. no. 471).) For essentially the same reasons as those

discussed in that opinion, I find that bail is inappropriate here.
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       However, I sympathize with the defendant’s situation that he is required to traverse the

distance between Hartford and Wyatt twice each day. The Bureau of Prisons would not be remiss

in affording the defendant some type of accommodation if possible. See, e.g., 28 C.F.R. 570.33(h).

       The defendant’s Emergency Motion for Bail Pending Decision of the Section 2255 Petition

to Vacate the Conviction (dkt. no. 534) is DENIED.

       It is SO ORDERED.

                                                     /s/ George A. O’Toole, Jr.
                                                     United States District Judge




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